Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 1 of 47




           EXHIBIT B
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 2 of 47
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 3 of 47
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 4 of 47
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 5 of 47
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 6 of 47
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 7 of 47
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 8 of 47




EXHIBIT 1
         Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 9 of 47




                          UNITED STATES OF AMERICA
                 BEFORE THE NATIONAL LABOR RELATIONS BOARD
                                  REGION 29

AMAZON.COM SERVICES LLC,                      )
                                              )
       Employer,                              )
                                              )
and                                           )               Case No. 29-RC-288020
                                              )
AMAZON LABOR UNION,                           )
                                              )
       Petitioner.                            )

                     AMAZON.COM SERVICES LLC’S OBJECTIONS
                        TO THE RESULTS OF THE ELECTION

       Of the 8,325 Amazon employees eligible to vote in this election, only 2,654—less than

32% of the eligible JFK8 workforce—voted for the Amazon Labor Union (“ALU” or “Union”).

The Union began and ended this campaign with far less than majority support. Region 29 of the

National Labor Relations Board (“Region 29”) has known this from the beginning but has acted

throughout this proceeding in a manner that unfairly and inappropriately facilitated the ALU’s

victory. Region 29’s interference and mismanagement of the election process, coupled with the

ALU’s own objectionable, coercive, and misleading behavior throughout the campaign, destroyed

the laboratory conditions necessary for a free and fair election.

       Most glaringly, the Region abandoned the appearance of neutrality when it publicly

initiated a 10(j) injunction lawsuit against Amazon in federal court seeking the reinstatement of

former employee Gerald Bryson a mere week before the election—but more than twenty-three

months after Bryson’s discharge and more than fourteen months after Region 29 initiated

litigation in the underlying case in December 2020. Region 29’s filings and public commentary—

which questioned the possibility of a fair election absent the immediate reinstatement of an

employee terminated years ago for a sexist verbal assault against a female co-worker—painted
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 10 of 47




Amazon in a misleading and negative light to voters and suggested the Board’s preference for the

ALU.

       The Region’s mishandling of this proceeding began months ago when it accepted the

ALU’s petition without the support required by the NLRB’s decades-old rules and standards. After

it failed to generate enough support for its original petition, the ALU publicly complained that it

was “impossible” to obtain the required 30% showing of interest and called on the Region to help

the ALU. The Region acquiesced, arbitrarily removing over 1,500 employees from the list of

employees in the petitioned-for unit. It then used that artificially reduced number to calculate

whether the ALU’s submission met the 30% showing of interest threshold. The Region’s

willingness to bend its rules lent a false air of legitimacy to the Union and constituted obvious and

improper assistance to the ALU.

       After fostering this impression throughout the critical period, during the election itself the

Region demonstrated the appearance of support for the ALU in front of voters in the polling place

while they were voting. The Region required employees wearing “Vote No” shirts to cover up

their shirts before entering the polling place, but permitted employees wearing ALU paraphernalia

to display it in the polling place. The Region also hindered voter turnout by mismanaging the

beginning stages of the election and bringing insufficient resources to support the size of the

election. The Region’s unpreparedness produced chaos and hours-long lines to vote on the first

polling day, discouraging other employees from voting. The Region also allowed camera crews,

including the ALU President’s personal videographer, to photograph, video, and interview

employees standing in line to vote. This scared away those who understandably did not desire to

have a microphone or news camera in their face or a reporter publicly interrogating them about

how they planned to vote.



                                                 2
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 11 of 47




       The ALU’s own misconduct during the critical period likewise chilled voters, suppressed

turnout, and destroyed laboratory conditions. Among other things, the ALU unlawfully intimidated

employees to support the ALU, stating among other things “if you vote no, I will know”; threatened

violence against its detractors; perpetuated lies about Amazon’s conduct in the NYPD’s arrest of

ALU President Christian Smalls for trespassing; recorded voters in the polling place; engaged in

electioneering in the polling area; distributed marijuana to employees in exchange for their

support; and surveilled employees as they exited the voting tent. All of these actions had a tendency

to suppress voter turnout and interfere with laboratory conditions.

       The actions of both the Region and the ALU are substantially more egregious than the

installation of a mailbox by the United States Postal Service that the Board concluded destroyed

and interfered with laboratory conditions in Amazon’s landslide election victory in Case 10-CA-

269250. The Region and ALU’s improper actions here warrant at least the same result.

       “The Board in conducting representation elections must maintain and protect the integrity

and neutrality of its procedures.” Ensign Sonoma LLC, 342 NLRB 933, 933 (2004) (emphasis in

original) (quoting Athbro Precision Eng’g Corp., 166 NLRB 966, 966 (1967)). Because that

patently did not happen here, the Board must order a rerun election.

                                          OBJECTIONS

                           The Region failed to protect the integrity and neutrality of its procedures

and created the impression of Board assistance or support for the ALU when it sought a 10(j)

injunction in Drew-King v. Amazon.com Services LLC, E.D.N.Y., No. 22-01479, on March 17,

2022. The Region sought this injunction 23 months after the alleged discriminatee (Gerald Bryson)

was discharged, 18 months after the charge was filed, and 14 months after the complaint was issued

in Case 29-CA-261755. Delaying the filing of this lawsuit until the eve of the election improperly



                                                  3
         Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 12 of 47




influenced employees’ perception of Amazon mere days before they were to vote. The Regional

Director admitted as much in a statement to multiple press outlets, specifically referencing the

imminent election in Case 29-RC-288020, stating the Board’s support for the ALU and alleging

Amazon was a lawbreaker. Specifically, the Regional Director said:

        We are seeking an injunction in District Court to immediately reinstate a worker
        that Amazon illegally fired for exercising his Section 7 rights. We are also asking
        the Court to order a mandatory meeting at JFK8 with all employees at which
        Amazon will read a notice of employees’ rights under the National Labor Relations
        Act. No matter how large the employer, it is important for workers to know their
        rights—particularly during a union election—and that the NLRB will
        vociferously defend them.

(emphasis added).1 Mr. Bryson was discharged in May of 2020 for verbally berating a female co-

worker. This video2 of the incident, which the Region attempted to conceal from Amazon

throughout the investigation and trial, revealed that Mr. Bryson called his female co-worker,

amongst other names, “gutter bitch,” “crack ho,” “queen of the slums,” and “crack-head” over a

bullhorn in front of their workplace because she exercised her Section 7 rights to disagree with

him. Yet, on the eve of the election, the Region pursued this injunction suggesting that only ALU

supporters’ Section 7 rights matter, and that Amazon’s actions were worthy of an extraordinary

remedy.

                               The Region failed to protect the integrity and neutrality of its procedures

and created the impression of Board assistance or support for the ALU when it delayed

investigating numerous unmeritorious and frivolous unfair labor practice charges that were

pending during the critical period rather than properly dismissing them or soliciting withdrawals.


        1
          See Mitchell Clark, The NLRB is suing Amazon to get a fired activist his job back, THE VERGE (Mar. 17,
2022), https://www.theverge.com/2022/3/17/22983692/nlrb-amazon-labor-activism-gerald-bryson-jfk8-warehouse-
injunction; see also Karen Weise, N.L.R.B sues Amazon over labor practices at a Staten Island Facility, NY TIMES
(Mar. 17, 2022), https://www.nytimes.com/2022/03/17/business/amazon-staten-island-facility.html.
        2
            See https://www.facebook.com/bella.nagengast/videos/1079803845739201.


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          Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 13 of 47




The Region’s inaction enabled the ALU to perpetuate its false campaign narrative3 that Amazon

was a recidivist violator of the National Labor Relations Act (“Act”), when in fact there has not

been a single NLRB order finding that Amazon has violated the Act. The ALU exploited the

Region’s inaction by continuing to file numerous baseless unfair labor practice charges throughout

the critical period. Many of these charges challenge conduct that is lawful under extant Board

precedent (e.g., charges about Weingarten rights and captive audience meetings). Some were later

withdrawn by the ALU while others were withdrawn and then refiled to create the appearance of

a greater volume of charges.

                                The Region failed to protect the integrity and neutrality of its procedures

and created the impression of Board assistance or support for the ALU when it allowed the ALU’s

petition in Case 29-RC-288020 to proceed to election knowing that the Union did not have the

required 30% showing of interest in the petitioned-for unit. It did so after public threats by the

ALU to expose “concerning issues” about the Region, including public comments from ALU

officials that urged the Board to “work with” and help the ALU through the process, and to relax

its rules. The Board’s validation of the ALU’s insufficient petition in response to and after these

public threats and comments reasonably suggested to employees that the ALU had more support

in the petitioned-for unit than it did and/or that the Region favored the ALU in its case processing.

                                The Region failed to protect the integrity and neutrality of its procedures

and created the impression of Board assistance or support for the ALU when it impermissibly

allowed the ALU for more than a month (from December 22, 2021 to January 25, 2022) to continue

gathering and submitting late signatures to bolster its insufficient showing of interest. This is

contrary to Board procedure for verifying a petitioner’s showing of interest. See NLRB,


       3
           The ALU has repeatedly, and falsely, claimed that it has filed “over 40” unfair labor practice charges against
Amazon.

                                                           5
           Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 14 of 47




CASEHANDLING MANUAL-PART TWO, REPRESENTATION PROCEEDINGS § 1103.1(a) (Sept. 2020)

(CASEHANDLING MANUAL) (requiring a petitioner to file evidence in support of the showing of

interest at the time the petition is filed or, when the petition is e-filed or faxed, within two days of

filing).

                           The Region failed to protect the integrity and neutrality of its procedures

and created the impression of Board assistance or support for the ALU when it unilaterally altered

the scope and size of the petitioned-for unit for the purpose of investigating the ALU’s showing

of interest. These unilateral modifications to the scope of the petitioned-for unit, which neither

party endorsed, were used by the Region solely to support its flawed conclusion that the ALU

purportedly met the minimum requirement of a 30% showing of interest. The petition and

Stipulated Election Agreement reflect identical unit descriptions. However, in completing the

public record NLRB FORM-4069, Region 29 altered the description, changing it from “All hourly

full-time and regular-part time fulfillment center employees employed at the JFK8 Building

located at 546 Gulf Avenue, Staten Island, NY 10314,” as requested by the ALU, to “FC Employee

I, working at JFK8 building,” thereby reducing the size of the unit and excluding other petitioned-

for classifications of employees. Region 29 also concluded that only 6,038 employees worked in

that unit, while Amazon provided the Region with extensive payroll documentation and additional

evidence that the petitioned-for unit was comprised of approximately 7,500 employees at the time

of the filing of the petition. Soon after recording these manipulated and inaccurate facts, and

approving the further processing of the petition, Region 29 reverted to the broader unit definition

included in the ALU’s petition and did not question Amazon’s submission of a voter list containing

8,325 employees. The Region’s manipulated and inaccurate conclusion regarding the contested




                                                   6
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 15 of 47




showing of interest perpetuated the false impression that the ALU had sufficient support to proceed

forward with an election when it clearly did not have sufficient support.

                           The Region failed to protect the integrity of its procedures when it

deviated from the Casehandling Manual on Representation Proceedings by failing to staff the

election adequately. Among other things, the Region provided an insufficient number of Board

Agents for check-in and failed to provide adequate equipment for the election, supplying only

three voting booths for an election with more than 8,000 potential voters. CASEHANDLING MANUAL

§ 11316. The Region was well aware of the size of the petitioned-for unit and potential number of

voters. See Voter List, filed on February 22, 2022 (including 8,325 employees in the petitioned-

for unit). These inactions caused extraordinarily long lines during the first voting session, widely

publicized in the news media, and discouraged many employees from voting in subsequent polling

sessions, particularly as the temperatures dropped to 20 degrees during two nights of polling. The

Board’s actions had a reasonable tendency to disenfranchise voters (as evidenced by extremely

low voter turnout), and contributed to the Board’s ineffective policing of the polling area, as further

described in objections below.

                           The Region failed to protect the integrity of its procedures when it

turned away voters when they attempted to vote during open polling sessions, and told voters they

were only being allowed to vote in alphabetical order. The parties’ Stipulated Election Agreement

provided that “the Board Agent will allow any voter who is in line during the polling period to

vote.” These actions disenfranchised those voters who were turned away, but also other voters who

learned that voters were turned away from the polls and chose not to participate in the election.

                           The Region failed to protect the integrity of its procedures when it failed

to control media presence in and around the voting area. Amazon specifically raised concerns to



                                                  7
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 16 of 47




the Region about media interference in the voting process prior to the start of the election. Yet

during the first polling session, numerous media members—including a documentary film crew

retained by Mr. Smalls—entered Amazon’s private property, filmed and recorded employees who

were in line to vote, and even asked voters how they planned to vote, within feet of Board Agents.

Photographs and quotes of these employees were then publicly broadcast across the nation. All of

this media filming, recording, and broadcasting took place within the same zone around the polling

place where the Region required Amazon to disable its security cameras during voting. The

Board’s failure to stop the media from surveilling and interrogating voters standing in line to vote

had a reasonable tendency to discourage other employees from voting in subsequent polling

sessions (as evidenced by extremely low voter turnout).

                           The Region failed to protect the integrity and neutrality of its procedures

and created the impression of Board assistance or support for the ALU when it allowed non-

employee ALU President Smalls to loiter around the polling location and within the “no-

electioneering zone” established by the Region on multiple occasions during polling times, where

he was able to observe who participated in the election. Mr. Smalls’ presence in and around the

“no-electioneering zone” during polling times reasonably tended to intimidate, coerce, and create

the impression of surveillance among voters and prospective voters.

                            The Region failed to protect the integrity and neutrality of its

procedures and created the impression of Board assistance or support for the ALU when it directed

voters to cover up “Vote NO” shirts, but allowed other voters to wear ALU shirts and other ALU

paraphernalia in the polling area. There was no basis for this direction as the Board has consistently

held that wearing stickers, buttons, and similar campaign insignia by participants and observers at

an election is, without more, not prejudicial. R. H. Osbrink Mfg. Co., 114 NLRB 940, 941-43



                                                  8
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 17 of 47




(1955); see also Furniture City Upholstery Co., 115 NLRB 1433, 1434–1435 (1956). The Board

has held that the impact on voters is not materially different “whether the observers wear prounion

or antiunion insignia of this kind.” Larkwood Farms, 178 NLRB 226, 226 (1969) (observer

wearing “Vote No” hat not objectionable). The Region’s discriminatory directions toward ALU

opponents created the impression for all voters present, as well as all potential voters who learned

of these incidents, that the Board appeared to favor the ALU over Amazon in the outcome of the

election. “No participant in a Board election should be permitted to suggest to the voters that this

Government agency, or any of its officials, endorses a particular choice.” Am-O-Krome Co., 92

NLRB 893, 894 (1950).

                            The Region failed to protect the integrity and neutrality of its

procedures and created the impression of Board assistance or support for the ALU when it

repeatedly allowed an ALU observer to audio/video record the check-in tables and voting area on

his mobile phone while serving as an observer during multiple voting sessions. CASEHANDLING

MANUAL §§ 11318.2(b) and 11326.2. The Region permitted this individual to continue serving as

an ALU election observer following his conspicuous recording of the voting area while the polls

were open. These actions further constitute objectionable list keeping of voters, objectionable

surveillance of voters, and also created the impression for voters and potential voters that the ALU

was surveilling them.

                            The Region failed to protect the integrity and neutrality of its

procedures and created the impression of Board assistance or support for the ALU when it solicited

unfair labor practice charges against Amazon in the presence of voters in the polling area while

the polls were open. During the election, an employee entered the polling area and complained

about Amazon’s actions during the campaign. Rather than tell the employee that they could discuss



                                                 9
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 18 of 47




the matter privately, the Board Agent, within earshot of voters, stated to the employee that the

employee could file unfair labor practice charges against Amazon with the NLRB.

                            During the critical period and while the polls were open, the ALU’s

members and agents harassed and threatened physical violence and other reprisals against

employees who were not supportive of the ALU’s cause. “Threats by union agents warrant the

setting aside of an election where they ‘reasonably tend[] to interfere with the employees’ free and

uncoerced choice in the election.’” Robert Orr-Sysco Food Servs. LLC, 338 NLRB 614, 615

(2002) (quoting Baja’s Place, 268 NLRB 868 (1984)).

                            The ALU improperly promised employees in the final days of the

campaign that it would not charge them dues unless and until the ALU secured a raise for

employees during collective bargaining. Prior to and during the critical period, the ALU was clear

that it would charge employees dues immediately following a successful vote. After employees

expressed reluctance to pay dues, the ALU directly contradicted its earlier statements and asserted

for the first time, late in the campaign, that it would not charge dues unless and until it secured

higher wages in contract negotiations with Amazon. The ALU made these promises to employees

during employee meetings, on social media, and in a letter from the ALU’s President to all eligible

voters two days before the polls opened. The ALU’s failure to file any foundational documents

and LM filings with the Department of Labor, as required by the Labor Management Reporting

and Disclosure Act of 1959 (“LMRDA”), coupled with its late-hour promise of free union

representation, allowed it to make promises regarding its dues structure in a way that deprived

Amazon of the ability to effectively respond, and denied employees the opportunity to assess the

credibility of the promise. Additionally, the ALU’s promises of free union representation is an

objectionable grant of a benefit because this benefit is within the ALU’s power to effectuate. See,



                                                10
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 19 of 47




e.g., Alyeska Pipeline Serv. Co., 261 NLRB 125, 126-27 (1982) (union controlled all access to

construction jobs in Alaska for employees participating in election, and thus union’s suggesting

only way to get union card was by voting for union in upcoming election was objectionable as

union was clearly promising to grant members advantage over nonmembers and had power to do

that); see also Go Ahead N. Am., LLC, 357 NLRB 77, 78 (2011) (finding objectionable union’s

offer to waive back dues).

                             The ALU engaged in repeated and deliberate attempts to interfere with

and “shut down” Amazon’s small group meetings, solicited employees during Amazon’s

educational meetings in violation of Amazon’s policies, and destroyed Amazon’s campaign

materials. The ALU’s actions intentionally created hostile confrontations in front of eligible voters

and hindered Amazon’s lawful right to communicate its views to employees during the campaign.

See, e.g., Livingston Shirt Corp., 107 NLRB 400, 406-07, 409 (1953) (union has no right to

campaign or solicit during employer’s lawful small group meetings); United Steelworkers of Am.

v. NLRB, 646 F.2d 616, 627 (D.C. Cir. 1981) (same, unless an employer has a broad rule

prohibiting solicitation during nonworking time [Amazon has no such policy]).

                             Non-employee ALU organizers repeatedly trespassed on Amazon’s

property. Over the course of many months, Amazon informed non-employee ALU organizers on

several occasions that they had no right to solicit on Amazon’s property and that their presence on

Amazon’s property constituted unlawful trespass. Nevertheless, Mr. Smalls and other non-

employee ALU organizers continued to trespass on Amazon’s property for the purpose of

soliciting employee support during the critical period. On February 23, 2022, during the critical

period, Mr. Smalls and two ALU organizers initiated a confrontation with the New York Police

Department after Mr. Smalls repeatedly refused to leave Amazon’s property, which resulted in



                                                 11
         Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 20 of 47




their arrests. After his arrest, Mr. Smalls and the ALU consistently misrepresented what had

occurred, claiming that he merely dropping off food for employees and was akin to an Uber Eats

driver, and that Amazon “called the cops on employees.” Mr. Smalls consistently failed, however,

to mention in his social media posts and interviews on the subject that on the date of his arrest, he

brought a film crew4 onto Amazon’s property without authorization, conducted an interview (that

can be seen on social media), and then proceeded to trespass and loiter for over one hour. The

ALU also filed ULP charges—which the Region has yet to investigate—and falsely alleged that

Amazon had “violated its national settlement” with the NLRB. The ALU then amplified these

misrepresentations and the pendency of the charge in the media. All of these actions had a

reasonable tendency to interfere with laboratory conditions. See Phillips Chrysler Plymouth, 304

NLRB 16, 16 (1991) (Board set aside election when union agents invaded the employer’s premises

without permission and refused to leave when asked, engaging in a confrontation with company

management).

                               The ALU unlawfully polled employee support, engaged in unlawful

interrogation, and created the impression of surveillance during the critical period. During the

critical period, the ALU distributed a pledge form that asked employees to fill out their name, state

what day they planned to vote, what time they planned to vote, their phone number, their address,

and to sign a commitment that they would vote “Yes.” This constitutes objectionable polling and

interrogation. The ALU’s request that employees identify what time and date they would vote

reasonably gave the impression that the ALU would surveil when and if they chose to vote, and

the commitment to vote “Yes” gave the impression that they could not change their mind if they

signed one of these commitment forms. See, e.g., Kusan Mfg. Co. v. NLRB, 749 F.2d 362, 365


        4
           See Addison Post, Amazon Did Everything it Could to Bust Staten Island Union, THE INTERCEPT (Apr. 2,
2022), https://theintercept.com/2022/04/02/amazon-union-staten-island/.

                                                      12
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 21 of 47




(1984) (citing NLRB v. Claxton Mfg. Co., 613 F.2d 1364 (5th Cir.1980)) (recognizing that an

employer may successfully challenge a representation election by showing that pre-election

polling by the union was coercive).

                           After disparaging—and celebrating its independence from—

established, institutional unions for months leading up to the vote, the ALU’s President and

attorney asserted in 11th hour communications to voters that the ALU was backed by established

unions with millions of union members, that those more-established unions were actively involved

in the ALU’s campaign, were providing funding and other services to the ALU, and would also be

involved in contract negotiations if the ALU was elected. The ALU’s failure to file any

foundational documents and LM filings with the Department of Labor as required by the LMRDA,

coupled with its late-hour promise of operational support from and affiliation with other unions,

deprived Amazon of the ability to effectively respond and employees the opportunity to assess the

ALU’s credibility. These misrepresentations are objectionable conduct because, under the

circumstances, employees were unable to discern the truth of these statements regarding which

labor organization would be representing them.

                           ALU supporters misled employees by telling them that they would lose

their benefits if they did not support the ALU. Relying on language barriers and misrepresentations

of the election processes, during the critical period, ALU organizers specifically targeted Amazon

employees who recently immigrated from Africa and threatened that their continued benefits were

contingent on their support of the ALU. While the ALU’s conduct in this regard is a deplorable

scare tactic targeted at an immigrant population, these false threats also constitute objectionable




                                                 13
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 22 of 47




conduct because they reasonably tended to coerce employees into supporting the ALU solely out

of fear that they would lose their benefits.

                            The ALU deployed a light projector outside the JFK8 facility that

projected mass messaging on the façade of the JFK8 building immediately prior to the election.

Late at night on March 23, 2022, and through the early morning hours, after the voting tent was in

place, the ALU projected messaging on the front of JFK8 immediately over the polling area which

read: “Amazon Labor Union”; “VOTE YES”; “VOTE YES! TO KEEP YOUR PHONES”; “BE

THE FIRST IN HISTORY”; “THEY FIRED SOMEONE YOU KNOW”; “THEY ARRESTED

YOUR COWORKERS”; and “ALU FOR THE WIN”. See, e.g., Rachel Gumpert (@rlgumpert),

TWITTER (Mar. 27, 2022), https://twitter.com/rlgumpert/status/1508089747289219082 (last

visited Apr. 8, 2022). The ALU’s light projections are also objectionable misrepresentations

inasmuch as they caused confusion about the identity of the messenger, suggested that Amazon

supported the messaging, and misrepresented the purpose and consequences of the vote. The

ALU’s light projections also reiterated the ALU’s false campaign narrative that Amazon sought

the arrest of employees. “[E]mployers and unions alike will be prohibited from making election

speeches on company time to massed assemblies of employees within 24 hours before the

scheduled time for conducting an election.” Peerless Plywood Co., 107 NLRB 427, 429 (1953).

Because “the Board’s goal is to keep voters as free of uninvited mass messages as possible during

the period just prior to the conduct of the election,” the ALU’s mass projection of its campaign

messaging falls squarely within the prohibitions of Peerless Plywood. See Bro-Tech Corp., 330




                                               14
         Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 23 of 47




NLRB 37, 39 (1999) (holding union’s use of sound truck broadcasting pro-union music constituted

objectionable conduct).

                               The ALU failed to file forms required by the LMRDA. The LMRDA

requires all unions purporting to represent private sector employees to file, among other things,

detailed financial reports. 29 U.S.C.A. §§ 431-432. As acknowledged by the LMRDA, these

disclosures are necessary to eliminate or prevent improper practices on the part of labor

organization, their officers, and their representatives and to protect employees from the activities

of labor organizations. Id. § 401(b)-(c). To date, the ALU has not filed any financial or other

reports required by the LMRDA despite being under a legal obligation to do so. The ALU’s failure

to comply with the LMRDA deprived employees from access to critical financial information

about the ALU’s operations during a critical time period (i.e., whether to vote for them as their

bargaining representative). ALU President Smalls brazenly told CNN the week before the election

that he would not file these disclosures until after the election, if at all.5

                               The ALU distributed marijuana to employees in return for their support

in the election. Amazon made the Region aware of such conduct several times. The Board, as a

federal agency and regulator, cannot condone such a practice as a legitimate method of obtaining

support for a labor organization. See e.g., Stand Up for California! v. U.S. Dep’t of the Interior,

959 F.3d 1154, 1165 (9th Cir. 2020) (citing Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1624 (2018)

(“We will not presume that Congress would enact a statute that requires a federal agency to violate

federal law.”)); see also Epic Sys. Corp., 138 S. Ct. at 1624 (courts should strive to give effect to

both laws when two are in conflict). The ALU’s distribution of marijuana was an impermissible


        5
          See Sara Ashley O’Brien, Two Amazon warehouses are vying to make history with company’s first union,
but they’re very different, CNN BUSINESS, (Mar. 30, 2022), https://www.cnn.com/2022/03/25/tech/amazon-new-
york-alabama-union-elections/index.html.


                                                     15
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 24 of 47




grant of benefit and interfered with employees’ free choice in the election. See Go Ahead N. Am.,

LLC, 357 NLRB at 77-78 (setting aside election where union granted benefits with a value in

excess of “minimal”).

                           On March 25, 2022, Mr. Smalls posted to his social media accounts a

video of himself standing outside the voting area over 20 minutes after voting began and after he

had told certain employees that the ALU would know how they voted. Employees viewing a video

of the ALU’s President appearing to stand outside the polling area while the polls were open

reasonably tended to coerce and intimidate voters and potential voters and lead them to believe

that the ALU and Mr. Smalls was or would surveil them. Mr. Smalls’ social media post also

reasonably tended to create the impression with voters that the Board supported ALU in the

election, as it failed to properly police and/or took no actions to remove him from the “no-

electioneering zone” established by the Board.

                           The ALU engaged a camera/documentary crew that maintained a

consistent presence in the polling place. Despite being directed to leave the area by Amazon in

front of the Board Agent and ALU President Smalls, the crew returned several times and filmed

employees in line waiting to vote, and employees entering and exiting the voting tent. These

actions reasonably tended to coerce and intimidate voters and potential voters and lead them to

believe that Mr. Smalls and the ALU would know if or how they voted, and created the impression

of surveillance.

                          ALU officials, agents, and supporters, including but not limited to non-

employee ALU President Smalls and non-employee Gerald Bryson, engaged in objectionable

conduct, including loitering in the “no-electioneering zone” established by the Board and/or within

view of the polling area while polls were open, creating the impression among employees that the



                                                 16
         Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 25 of 47




ALU was surveilling the polling area, and otherwise engaging in electioneering. This conduct

reasonably tended to coerce and intimidate voters and potential voters.


                                                     Respectfully submitted,

                                                     HUNTON ANDREWS KURTH LLP

                                                      /s/ Kurt Larkin
                                                      Kurt Larkin
                                                      Riverfront Plaza, East Tower
                                                      951 East Byrd Street
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                                                     (E): arogers@HuntonAK.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing document was electronically

filed with the NLRB and was served by electronic mail this 8th day of April, 2022 to:

             Kathy Drew King, Regional Director         Eric Milner
             Region 29, National Labor Relations        Simon & Milner
             Board                                      99 W. Hawthorne Ave. Suite 308
             100 Myrtle Ave, Suite 5100                 Valley Stream, NY 11580
             Brooklyn, NY 11201-4201                    Tel No. – (516) 561-6622
             Tel No. – (718) 330-7713                   Fax No. – (516) 561-6828
             Fax No. – (718) 330-7579                   E-mail - emilner@simonandmilner.com
             E-mail – KathyDrew.King@nlrb.gov
             E-mail – kate.anderson@nlrb.gov
             E-mail – ioulia.fedorova@nlrb.gov

                                                         /s/ Amber M. Rogers
                                                         Amber M. Rogers


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 EXHIBIT 2
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 28 of 47




                           UNITED STATES OF AMERICA
                BEFORE THE NATIONAL LABOR RELATIONS BOARD
                                REGION 29



 AMAZON.COM SERVICES LLC

        and                                                             Case No. 29-CA-310869

 AMAZON LABOR UNION




      GENERAL COUNSEL’S MOTION TO TRANSFER CASE TO THE BOARD
                AND MOTION FOR SUMMARY JUDGMENT


       Pursuant to Sections 102.24 and 102.50 of the Rules and Regulations of the National Labor

Relations Board, Counsel for the General Counsel moves to transfer this case to the Board and

moves for summary judgment against Amazon.com Services LLC (Respondent) on the grounds

that there are no genuine issues of material fact framed by the pleadings and that General Counsel

is entitled to judgment as a matter of law. In that regard, Respondent has refused to bargain with

Amazon Labor Union (the Union) in order to test the Board’s certification of the Union as the

exclusive collective-bargaining representative of all hourly full-time and regular-part time

fulfillment center associates employed by Respondent at its JFK8 building located at 546 Gulf

Avenue, Staten Island, New York.

       In support of this Motion, Counsel for the General Counsel states the following:

       1.      On December 22, 2021, the Union filed a Petition pursuant to Section 9(c) of the

Act in Case No. 29-RC-288020, seeking to represent all hourly full-time and regular-part time

fulfillment center associates employed by Respondent at its JFK8 building located at 546 Gulf

Avenue, Staten Island, New York. A copy of the Petition is attached as Exhibit 1.



                                                1
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 29 of 47




       2.      On February 17, 2022, the Regional Director for Region 29 approved a Stipulated

Election Agreement in which the parties agreed that the following employees of Respondent

constitute a unit appropriate for the purposes of collective bargaining (the Unit):

       INCLUDED: All hourly full-time and regular-part time fulfillment center associates
       employed at the Employer’s JFK8 building located at 546 Gulf Avenue, Staten Island, New
       York.

       EXCLUDED: Truck drivers, seasonal employees, temporary employees, clerical
       employees, professional employees, managerial employees, engineering employees,
       maintenance employees, robotics employees, information technology employees, delivery
       associates, loss prevention employees, on-site medical employees, guards and supervisors
       as defined by the Act.

A copy of the Stipulated Election Agreement is attached as Exhibit 2.

       3.      Pursuant to the Stipulated Election Agreement, Region 29 conducted an election

for the Unit on various dates in March 2022, and, on April 1, 2022, issued a Tally of Ballots

showing that a majority of the valid votes were cast for the Union. A copy of the Tally of Ballots

is attached as Exhibit 3.

       4.      On April 8, 2022, Respondent filed Objections to the Results of the Election. A

copy of the Objections is attached as Exhibit 4.

       5.      On April 14, 2022, the General Counsel issued an Order Transferring Case from

Region 29 to Region 28. A copy of the Order is attached as Exhibit 5.

       6.      On April 29, 2022, the Regional Director for Region 28 issued an Order Directing

Hearing and Notice of Hearing on Objections. A copy of the Order and Notice of Hearing is

attached as Exhibit 6.

       7.      On September 2, 2022, based on a hearing conducted between June 13, 2022, and

July 18, 2022, the Hearing Officer issued the Hearing Officer’s Report on Objections concluding




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        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 30 of 47




that Respondent’s objections should be overruled in their entirety. A copy of the Hearing Officer’s

Report is attached as Exhibit 7.

       8.      On September 23, 2022, Respondent filed Exceptions to the Hearing Officer’s

Report on Objections. A copy of the Exceptions is attached as Exhibit 8.

       9.      On January 11, 2023, the Regional Director for Region 28 issued his Decision and

Certification of Representative. In the Decision and Certification of Representative, the Regional

Director concluded that the Hearing Officer’s rulings were free from prejudicial error and should

be affirmed. Further, the Regional Director overruled Respondent’s objections and issued a

Certification of Representative certifying the Union as the exclusive collective-bargaining

representative of the Unit. A copy of the Regional Director’s Decision and Certification of

Representative is attached as Exhibit 9.

       10.     On February 9, 2023, Respondent filed with the Board a Request for Review of the

Regional Director’s Decision and Certification of Representative. The Request for Review is

currently before the Board. A copy of the Request for Review is attached as Exhibit 10.

       11.     On or about April 2, 2022, and on multiple subsequent occasions, the Union, by

letter to Respondent, demanded that Respondent bargain collectively with the Union as the

exclusive collective-bargaining representative of the Unit. A copy of the Union’s April 2, 2022,

Demand to Bargain is attached as Exhibit 11.

       12.     On January 25, 2023, the Union filed an unfair labor practice charge in Case No.

29-CA-310869, and a copy was served on Respondent by U.S. mail that same day. A copy of the

Charge, including the affidavit of service, is attached as Exhibit 12.




                                                 3
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 31 of 47




       13.       By email dated January 25, 2023, Respondent confirmed to Region 29 that it was

testing the Board’s certification of the Union as the exclusive collective-bargaining representative

of the Unit. A copy of Respondent’s email is attached as Exhibit 13.

       14.       On July 12, 2023, the Regional Director for Region 29 issued and served a

Complaint in Case No. 29-CA-310869 alleging that, since on or about April 2, 2022, Respondent

has failed and refused to bargain collectively with the Union as the exclusive collective-bargaining

representative of the Unit. A copy of the Complaint, including the affidavit of service, is attached

as Exhibit 14.

       15.       On July 26, 2023, Respondent filed its Answer to Complaint, admitting in part,

denying in part, and failing to admit or deny certain allegations in the Complaint. A copy of the

Answer is attached as Exhibit 15.

       16.       In its Answer, Respondent admits, without qualifications, Complaint Paragraphs 2

and 4, alleging the nature of Respondent’s operations and that Respondent is an Employer within

the meaning of the Act.

       17.       In its Answer, Respondent admits that the Union filed the charge referenced in

Complaint Paragraph 1 and claims that it “is without sufficient information to admit or deny the

date of service of the charge.” Because Respondent “does not contest” that it received the charge

and does not deny the timely service of the charge, and as service of the charge is established by

Region 29’s affidavit of service in Exhibit 12, it is clear that there is no genuine issue of material

fact. The allegation in Complaint Paragraph 1 should be admitted as true.

       18.       In its Answer, Respondent denies the factual jurisdictional assertions in Complaint

Paragraph 3, while also stating that it “does not dispute the Board’s jurisdiction over this matter.”

Respondent has previously stipulated to the underlying factual basis for the Board’s jurisdiction in




                                                  4
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 32 of 47




the Stipulated Elected Election Agreement in Case No. 29-RC-288020 (Exhibit 2). It is clear that

there is no genuine issue of material facts and the allegation in Complaint Paragraph 3 should be

admitted as true.

        19.    In its Answer, Respondent claims it “is without sufficient information to admit or

deny the allegations” in Complaint Paragraph 5 which alleges that, at all material times, the Union

has been a labor organization within the meaning of Section 2(5) of the Act. Respondent has

previously stipulated to the Union’s labor organization status in the Stipulated Elected Election

Agreement in Case No. 29-RC-288020 (Exhibit 2). Therefore, there is no genuine issue of material

fact in Complaint Paragraph 5, and the allegation in Complaint Paragraph 5 should be admitted as

true.

        20.    In its Answer, Respondent, without elaboration, denies that the Unit constitutes a

unit appropriate for the purposes of collective bargaining within the meaning of Section 9(b) of

the Act as alleged in Complaint Paragraph 6. Because Respondent has previously stipulated to the

appropriateness of the Unit in the Stipulated Elected Election Agreement in Case No. 29-RC-

288020 (Exhibit 2), there is no genuine issue of material fact in Complaint Paragraph 6, and the

allegation should be admitted as true.

        21.    In its Answer, Respondent admits that the parties entered into the Stipulated

Election Agreement (Exhibit 2), and that the NLRB conducted an election which resulted in the

issuance of a Tally of Ballots (Exhibit 3) as alleged in Complaint Paragraph 7. Respondent, denies

the remainder of Complaint Paragraph 7, including that the NLRB conducted the election

consistent with the Stipulated Election Agreement, that the Decision and Certification of

Representative (Exhibit 9) was properly issued, and that, since April 1, 2022, the Union has been

the exclusive collective-bargaining representative of the Unit. The issues that Respondent now




                                                5
           Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 33 of 47




denies have already been fully litigated by the parties in the Objections hearing. The Regional

Director of Region 28 decided these issues and rejected Respondent’s arguments, and Respondent

cannot now re-ligate these representation issues in an unfair labor practice proceeding. Pittsburgh

Plate Glass Co. v. NLRB, 313 U.S. 146, 161 – 162 (1941). While these issues are now currently

before the Board in Respondent’s Request for Review (Exhibit 10), Respondent is not relieved of

its obligation to bargain with the certified representative of its employees pending Board

consideration of a request for review. See Audio Visual Services Grp., 365 NLRB No. 84, slip op.

at 2 (2017). If the Board denies Respondent’s Request for Review, consistent with the Decision

and Certification of Representative, the allegations in Complaint Paragraph 7 should be admitted

as true.

           22.    In its Answer, Respondent admits that the Union has requested that Respondent

bargain with the Union as alleged in Complaint Paragraph 8. Because Respondent is testing the

validity of the Union’s certification, Respondent denies that the Union is the exclusive collective-

bargaining representative of its employees, or that the Union is entitled to bargain collectively on

behalf of any employee at Respondent’s JFK8 facility. Respondent’s partial denial of Complaint

Paragraph 8 is based upon its objections to the election which are currently before the Board in

Respondent’s Request for Review (Exhibit 10). To the extent the Board denies Respondent’s

Request for Review, the allegations in Complaint Paragraph 8 should be admitted as true.

           23.   Complaint Paragraph 9 alleges that, since April 2, 2022, Respondent has failed and

refused to bargain with the Union as the exclusive collective-bargaining representative of the Unit.

Because Respondent is challenging the Union’s certification, Respondent “denies that it has

unlawfully refused to bargain” with the Union (emphasis added), and further denies that the Union

is the collective-bargaining representative of Respondent’s employees or entitled to bargain on




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           Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 34 of 47




their behalf. While the legality of Respondent’s refusal to bargain with the Union will ultimately

be determined by the validity of the certification, there is no genuine issue of material fact that

Respondent refuses to recognize and bargain with the Union. To the extent the Board denies

Respondent’s Request for Review, the allegations in Complaint Paragraph 9 should be admitted

as true.

           24.   In its Answer, Respondent denies the allegation in Complaint Paragraph 10 that it

is refusing to bargain with the Union to test the certification, denying, additionally, that the Union

is entitled to bargain on behalf of Respondent’s employees. Respondent, by its counsel, in response

to the current charge, previously confirmed Respondent was testing the Board’s certification of

the Union as the exclusive collective-bargaining representative of the Unit (Exhibit 13). There is

no genuine issue of fact in Complaint Paragraph 10, and the allegation should be admitted as true.

           25.   In its Answer, Respondent denies the allegations in Complaint Paragraphs 11

through 13, which include both the asserted legal conclusions and appropriate remedies sought by

the General Counsel. To the extent the Board denies Respondent’s Request for Review, the Board

should issue a Decision and Order finding the legal conclusions alleged in Complaint Paragraphs

11 and 12, and requiring Respondent take the remedial actions sought in Complaint Paragraph 13.

           26.   In its Answer, Respondent asserts various affirmative defenses, none raising

genuine issue of material fact:

                 a.     In its first affirmative defense, Respondent denies having violated the Act.

As there is no factual dispute that Respondent has failed and refused to bargain with the Union

since on or about April 2, 2022, to the extent the Board denies Respondent’s Request for Review,

Respondent, has engaged in unfair labor practices within the meaning of Section 8(a)(1) and (5)

of the Act.




                                                  7
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 35 of 47




               b.      In its second affirmative defense, Respondent asserts that “the Complaint

should be dismissed to the extent that the allegation fails to state a claim upon which relief may be

granted.” As reflected in Exhibit 14, the Complaint clearly states a claim upon which relief may

be granted.

               c.      In its third affirmative defense, Respondent asserts that “the Complaint

should be dismissed to the extent that it contains allegations that are not a part of the underlying

charge.” As reflected in Exhibit 12, the underlying unfair labor practice charge contains the

allegations currently at issue.

               d.      In its fourth affirmative defense, Respondent asserts that the Complaint

should be dismissed due to alleged objectionable conduct during the representation election which

Respondent argues should render the election invalid. As Respondent’s objections to the election

are currently before the Board in Respondent’s Request for Review (Exhibit 10), to the extent the

Board denies Respondent’s Request for Review, Respondent’s fourth affirmative defense should

be rejected.

               e.      In its fifth affirmative defense, Respondent asserts that the Complaint is

premature, as the Board has not yet ruled on Respondent’s Request for Review. Respondent

provides no legal authority for its assertion. As Respondent’s Request for Review is currently

before the Board, the Board can issue its decision on the current motions and the underlying

Complaint concurrent with, or subsequent to its decision on Respondent’s outstanding Request for

Review.

               f.      In its sixth affirmative defense, Respondent references Section 102.15 of

the Board’s Rules and Regulations and asserts that the Complaint should be dismissed for failure




                                                 8
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 36 of 47




to include a fixed place and time for hearing. This is incorrect. Under Section 102.15, a complaint

is required to contain:

               (a) A clear and concise statement of the facts upon which the Board asserts
               jurisdiction, and (b) A clear and concise description of the acts which are claimed
               to constitute unfair labor practices, including, where known, the approximate dates
               and places of such acts and the names of Respondent’s agents or other
               representatives who committed the acts.

The current Complaint meets these requirements. As this case involves Respondent’s intentional

refusal to bargain with the Union to test the Board’s certification, there is no genuine issue of fact

necessitating a formal proceeding before an Administrative Law Judge. In this context, the

Complaint is adequate under the Board’s Rules and Regulations, and Respondent’s sixth

affirmative defense should be rejected.

               g.         Respondent’s seventh listed affirmative defense is not substantive, but

rather “reserves the right to assert additional defense during the course of this action.” As

Respondent has provided not persuasive substantive affirmative defense to the Complaint,

Respondent’s assertion that the Complaint should be dismissed should be rejected.

       27.     The General Counsel submits that prospectively oriented relief, standing alone,

would be far from adequate to meaningfully remedy Respondent’s violation of the Act or to

effectuate the core policies underlying the Act. In several pending cases, the Board has severed

and retained for further consideration the General Counsel’s arguments that the Board should

overrule its flawed decision in Ex-Cell-O Corp., 185 NLRB 107 (1970), and adopt a compensatory

make-whole remedy. E.g., Longmont United Hospital, 371 NLRB No. 162, slip op. at 2 (2022). In

accordance with the General Counsel’s arguments in those cases, the Board should overrule Ex-

Cell-O and its progeny, apply any change in law retroactively to this and other pending cases, and




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        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 37 of 47




order Respondent to make the employees at issue here whole for the lost opportunity to engage in

collective bargaining at the time and in the manner contemplated by the Act.

       28.     Respondent's Answer does not raise any bona fide issue of material fact and, in

essence, denies only the legal conclusions to be drawn from the factual allegations in the

Complaint. To the extent Respondent’s Answer seeks to challenge the conduct of the related

representation election in Case No. 29-RC-288020, Respondent may not re-litigate in an unfair

labor practice proceeding a representation issue that was or could have been previously litigated

in a prior representation proceeding. Pittsburgh Plate Glass Co. v. NLRB, 313 U.S. 146, 161 – 162

(1941). As Respondent’s Request for Review (Exhibit 10) is currently before the Board, the Board

can appropriately consider Respondent’s objections to the conduct of the election and its

challenges to the Regional Director’s Decision and Certification of Representative (Exhibit 9) in

its decision on the Request for Review. To the extent the Board denies Respondent’s Request for

Review, there is no genuine issue of material fact in this case, and summary judgment as a matter

of law is appropriate.

       WHEREFORE, Counsel for the General Counsel respectfully moves that the Board grant

the Motion to Transfer Case to the Board and Motion for Summary Judgment, find all of the

allegations of the Complaint to be true, and issue an appropriate Decision and Order finding that

Respondent has violated Section 8(a)(5) and (1) of the Act as alleged, and requiring Respondent

to meaningfully remedy its unfair labor practices consistent with the remedies sought in the

General Counsel’s Complaint.




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       Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 38 of 47




Dated: August 23, 2023




                                     Brent Childerhose
                                     Counsel for the General Counsel
                                     National Labor Relations Board, Region 29
                                     Two Metro Tech Center, Suite 5100
                                     Brooklyn, NY 11201-3838




                                      11
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 39 of 47




 EXHIBIT 3
       Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 40 of 47




                            UNITED STATES OF AMERICA
                BEFORE THE NATIONAL LABOR RELATIONS BOARD
                                 REGION 29



 AMAZON.COM SERVICES LLC

        and                                                             Case No. 29-CA-310869

 AMAZON LABOR UNION




                                        COMPLAINT

       This Complaint is based on a charge filed by Amazon Labor Union (the Union). It is issued

pursuant to Section 10(b) of the National Labor Relations Act (the Act), 29 U.S.C. § 151 et seq.,

and Section 102.15 of the Rules and Regulations of the National Labor Relations Board (the Board)

and alleges that Amazon.com Services LLC (Respondent) has violated the Act as described below.

       1.      The charge in Case No. 29-CA-310869 was filed by the Union on January 25, 2023,

and a copy was served on Respondent by U.S. mail that same day.

       2.      At all material times, Respondent, a Delaware limited liability company with a

Fulfillment Center located at 546 Gulf Avenue, Staten Island, New York (JFK8 Facility) has been

engaged in the retail sale of consumer products throughout the United States.

       3.      During the past twelve-month period, which period is representative of its

operations in general, Respondent, in conducting its business operations described above in

paragraph 2:

               (a)    derived gross revenues in excess of $500,000, and

               (b)    purchased and received at its JFK8 Facility goods and supplies valued in

excess of $5,000 directly from enterprises located outside the State of New York.



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        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 41 of 47




       4.      At all material times, Respondent has been an employer engaged in commerce

within the meaning of Section 2(2), (6), and (7) of the Act.

       5.      At all material times, the Union has been a labor organization within the meaning

of Section 2(5) of the Act.

       6.      The following employees of Respondent (the Unit) constitute a unit appropriate for

the purposes of collective bargaining within the meaning of Section 9(b) of the Act:

       INCLUDED: All hourly full-time and regular-part time fulfillment center associates
       employed at the Employer’s JFK8 building located at 546 Gulf Avenue, Staten Island, New
       York.

       EXCLUDED: Truck drivers, seasonal employees, temporary employees, clerical
       employees, professional employees, managerial employees, engineering employees,
       maintenance employees, robotics employees, information technology employees, delivery
       associates, loss prevention employees, on-site medical employees, guards and supervisors
       as defined by the Act.

       7.      (a)     Pursuant to a stipulated election agreement entered into by the parties in

Case No. 29-RC-288020, the NLRB conducted an election on various dates in March 2022, among

Unit employees described above in paragraph 5.

               (b)     On April 1, 2022, a Tally of Ballots in Case No. 29-RC-288020 issued

showing a majority of the valid votes were cast for the Union.

               (c)     On January 11, 2023, a Regional Director of the Board certified the Union

as the exclusive collective-bargaining representative of the Unit.

       (d)     At all material times since April 1, 2022, based on Section 9(a) of the Act, the

Union has been the exclusive collective-bargaining representative of the Unit.

       8.      On or about April 2, 2022, and on multiple subsequent occasions, the Union, by

letter, requested that Respondent bargain collectively with the Union as the exclusive collective-

bargaining representative of the Unit employees.




                                                 2
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 42 of 47




       9.      Since on or about April 2, 2022, Respondent has failed and refused to bargain with

the Union as the exclusive collective-bargaining representative of the Unit.

       10.     Respondent’s purpose in refusing to bargain with the Union is to test the

certification of the Union as the exclusive collective-bargaining representative of the Unit issued

by a Regional Director of the Board on January 11, 2023, in Case No. 29-RC-288020.

       11.     By the conduct described above in paragraphs 9 and 10, Respondent has failed and

refused to bargain collectively and in good faith with the Union as the exclusive collective-

bargaining representative of the Unit, and thereby has been engaging in unfair labor practices

within the meaning of Section 8(a)(l) and (5) of the Act.

       12.     The unfair labor practices of Respondent described above affect commerce within

the meaning of Section 2(6) and (7) of the Act.

       13.     As part of the remedy for the unfair labor practices alleged above, and to fully

remedy the unfair labor practices, the General Counsel seeks an order requiring Respondent:

               (a)    to make the bargaining-unit employees whole for the lost opportunity to

engage in collective bargaining at the time and in the manner they were entitled to under the Act;

               (b)    to physically post the Notice to Employees in all locations where

Respondent typically posts notices to employees, including but not limited to employee

breakrooms (Table Top displays) and in all “inStallments” (employee bathrooms and bathroom

stalls), and that Respondent electronically distribute the Notice to Employees by all methods that

Respondent communicates with its employees, including but not limited to email, text message,

social media, Voice of Associates (VOA) and applications, including the Amazon A to Z app and

its “inSites.” The physical and electronic Notice shall be in English and in Spanish and any other

languages deemed necessary to apprise employees of their Section 7 rights;




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           Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 43 of 47




                (c)   by an appropriate Respondent Representative, to be determined and

approved by the Regional Director, or in the alternative, an Agent of the NLRB to read the Notice

to Employees, in English and Spanish and any other languages deemed necessary, in the presence

of a Board agent and a representative of the Charging Party Union, at a meeting(s) convened by

Respondent for its employees, such meeting(s) to be scheduled during work hours to ensure the

widest possible employee attendance;

                (d)   to hand deliver and email the signed Notice to Employees to all supervisors,

managers and agents, along with written instructions signed by an appropriate Respondent

representative, to be determined and approved by the Regional Director, directing them to comply

with the provisions of the Notice, and provide the Regional Director with written proof of

compliance;

                (e)   As part of the remedy for Respondent's unfair labor practices alleged above

in paragraphs 9 through 11, the General Counsel seeks an Order requiring Respondent to bargain

in good faith with the Union, on request, for the period required by Mar-Jac Poultry Co., 136

NLRB 785 (1962), as the recognized bargaining representative in the appropriate unit; and

                (f)   all other relief as may be just and proper to remedy the unfair labor practices

alleged.

                                 ANSWER REQUIREMENT

       Respondent is notified that, pursuant to Sections 102.20 and 102.21 of the Board’s Rules

and Regulations, it must file an answer to the Complaint. The answer must be received by this

office on or before July 26, 2023, or postmarked on or before July 25, 2023. Respondent also

must serve a copy of the answer on each of the other parties.




                                                4
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 44 of 47




       The answer must be filed electronically through the Agency’s website.                 To file

electronically, go to www.nlrb.gov, click on E-File Documents, enter the NLRB Case Number,

and follow the detailed instructions. Responsibility for the receipt and usability of the answer rests

exclusively upon the sender. Unless notification on the Agency’s website informs users that the

Agency’s E-Filing system is officially determined to be in technical failure because it is unable to

receive documents for a continuous period of more than 2 hours after 12:00 noon (Eastern Time)

on the due date for filing, a failure to timely file the answer will not be excused on the basis that

the transmission could not be accomplished because the Agency’s website was off-line or

unavailable for some other reason. The Board’s Rules and Regulations require that an answer be

signed by counsel or non-attorney representative for represented parties or by the party if not

represented. See Section 102.21. If the answer being filed electronically is a pdf document

containing the required signature, no paper copies of the answer need to be transmitted to the

Regional Office. However, if the electronic version of an answer to a Complaint is not a pdf file

containing the required signature, then the E-filing rules require that such answer containing the

required signature continue to be submitted to the Regional Office by traditional means within

three (3) business days after the date of electronic filing. Service of the answer on each of the

other parties must still be accomplished by means allowed under the Board’s Rules and

Regulations. The answer may not be filed by facsimile transmission. If no answer is filed, or if

an answer is filed untimely, the Board may find, pursuant to a Motion for Default Judgment, that

the allegations in the Complaint are true.

       Any request for an extension of time to file an answer must, pursuant to Sections 102.22

and 102.2 of the Board's Rules and Regulations, be filed electronically by the close of business on




                                                  5
       Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 45 of 47




July 26, 2023. The request should be in writing and addressed to the Regional Director of Region

29.

Dated: July 12, 2023




                                              Teresa Poor
                                              Regional Director
                                              National Labor Relations Board
                                              Region 29
                                              Two Metro Tech Center
                                              Suite 5100
                                              Brooklyn, NY 11201-3838




                                               6
Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 46 of 47




 EXHIBIT 4
        Case 5:24-cv-01000-XR Document 10-2 Filed 09/10/24 Page 47 of 47




UNITED STATES GOVERNMENT
National Labor Relations Board

Memorandum




  DATE:             March 10, 2022

  TO:               Jennifer Abruzzo
                    General Counsel

  FROM:             Fred B. Jacob
                    Solicitor


  SUBJECT:          Amazoncom Services, LLC
                    Case 29—CA—261755




       A majority of the Board (Chairman McFerran and Members Wilcox and Prouty)
authorizes you, to institute 10(j) proceedings in this case, as requested. Members Kaplan and
Ring would not authorize 10G) proceedings.


                                                    F.B.J.


        cc: Mr. Ohr                         Board Members
            Mr. Bock                        Executive Secretary
            Mr. Lussier
           _.M.s_:_.§{§_z_qyez.
               6,7(C)




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